




Filed 12/5/16 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2016 ND 226







State of North Dakota, 		Plaintiff and Appellee



v.



Mark Anthony Butts, 		Defendant and Appellant







No. 20160125







Appeal from the District Court of Burleigh County, South Central Judicial District, the Honorable Bruce B. Haskell, Judge.



AFFIRMED.



Per Curiam.



Laura C. Ringsak, 103 S. Third St., Ste. 6, Bismarck, N.D. 58501, for plaintiff and appellee; submitted on brief.



Marina Spahr, Assistant State’s Attorney, 514 E. Thayer Avenue, Bismarck, N.D. 58501, for defendant and appellant; submitted on brief.

State v. Butts

No. 20160125



Per Curiam.

[¶1]	Mark Butts appeals the district court’s order denying his motion to withdraw his guilty plea. &nbsp;Butts argues the district court abused its discretion in concluding Butts failed to establish a fair and just reason why he should be allowed to withdraw his guilty plea. &nbsp;In 
State v. Lium
, we laid out nine factors a district court could consider to determine whether a fair and just reason exists to withdraw a guilty plea prior to sentencing. &nbsp;2008 ND 232, ¶ 17, 758 N.W.2d 711. &nbsp;Here, we hold the district court did not abuse its discretion in applying these factors by denying Butts’s motion to withdraw his guilty plea. &nbsp;Therefore, we affirm under N.D.R.App.P. 35.1(a)(4).

[¶2]	Gerald W. VandeWalle, C.J.

Lisa Fair McEvers

Daniel J. Crothers

Dale V. Sandstrom

Carol Ronning Kapsner






